                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )       Criminal No. 3:13-00012
                                                   )       Judge Trauger
                                                   )
[2] BRENDA ELISE EDWARDS                           )
                                                   )

                                          ORDER

       Counsel for this defendant has filed a Notice Striking Motion to Set a Hearing on

Representation. (Docket No. 118) It is therefore ORDERED that the hearing scheduled for

March 11, 2014 on the Motion to Set a Hearing on Representation (Docket No. 116) is

CANCELLED.

       It is so ORDERED.

       ENTER this 11th day of March 2014.


                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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